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                                                                         ISSUED BY COURT
                                                                             06/02/2014
                                                                         DATE FILED: June 2, 2014 3:23 PM
   COUNTY COURT, PARK COUNTY, COLORADO                                   CASE NUMBER: 2014C30068
   Park County Courthouse
   300 4th St., P.O. Box 190
   Fairplay, CO 80440                                                      Kathy Jones
                                                                  ▲COURTClerk
                                                                        USE ONLY▲
                                                                              of the Court
   Plaintiff: FEDERAL         NATIONAL         MORTGAGE
   ASSOCIATION
   v.
   Defendants: MARTIN T. WIRTH, and any and all
   other occupants claiming an interest under the defendants   Case No.: 2014C30068
                                                               Div.: A

                                    WRIT OF RESTITUTION


   The People of the State of Colorado,
   To the Sheriff of said County:

          Whereas, Plaintiff has obtained a judgment, in the above entitled action of unlawful
   detainer, for the restitution of the premises described as follows:

   LOT 53,
   FRIENDSHIP RANCH UNIT 2,

   AND

   APART OF THE SOUTH 1/2 OF SECTION 8, TOWNSHIP 7 SOUTH, RANGE 72 WEST OF
   THE 6TH P.M., DESCRIBED AS FOLLOWS:

   BEGINNING AT A POINT ON THE SOUTHERLY BOUNDARY OF FRIENDSHIP RANCH
   UNIT 2 THENCE THE SOUTH 1/4 CORNER OF SAID SECTION 8 BEARS SOUTH 0
   DEGREES 25 MINUTES EAST, 510 FEET; THENCE SOUTH 53 DEGREES 17 MINUTES
   EAST, ALONG SAID BOUNDARY, 476 FEET TO THE MOST SOUTHERLY CORNER OF
   SAID LOT 54 IN SAID SUBDIVISION; THENCE SOUTH 78 DEGREES 31 MINUTES
   WEST, 532.44 FEET; THENCE NORTH 00 DEGREES 25 MINUTES WEST, 388.91 FEET
   TO A POINT ON THE SOUTH BOUNDARY OF SAID SUBDIVISION; THENCE NORTH
   89 DEGREES 29 MINUTES 30 SECONDS EAST, ALONG SAID BOUNDARY, 143.16 FEET
   TO THE POINT OF BEGINNING,

   EXCEPT THE WEST OR WESTERLY 60 FEET THEREOF CONVEYED BY DEED
   RECORDED IN BOOK 217 AT PAGE 570
   COUNTY OF PARK,
   STATE OF COLORADO
   alleged property address: 36 Iris Drive, Bailey, Colorado 80421

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           THIS IS TO COMMAND YOU, in the name and by the authority of the People, to
   dispossess the defendants and any and all occupants and to restore Plaintiff to the possession of
   said premises. Hereof make due and proper return according to law.

   Given under my hand and seal, Dated:______________________________.


   By:____________________________________
         County Court Judge
